           Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20Previous
                                                                    Page 1 of Assumed
                                                                              27 PageID#    147Residence
                                                                                      Term up
               Image            Senator       Party         Bom             Occupation|s)                   office(8)               office

                                Pat Roberts   Republican    April 20,      United States Marine             U.S. House              January 3,   2020   Dodge City
                                                                                                                                                           [t9|
                                                             1936              Corps officer                                             1997
                                                                                 journalist
                                                                         U.S. Senate staff member
                                                                         U.S. House staff member




                                              „             May 29,                                        U.S. House               January 3,
                                              Republican                                                                                         2022     Hays''
                                                                                                          Kansas Senate                  2011




                                                                                                    U S Department of Justice
                    /.J f          Mitch                    February              Lawyer            Office of Legislative Affairs   January 3.
                                              Republican                                                                                                Louisville'®'
                k           .    McConnell                  20, 1942     U.S. Senate staff member         Jefferson County               1985
                                                                                                          Judge/Executive



Kentucky



                                                                                                                                    January 3,            Bowling
                                              Republican                      Ophthalmologist                                            2011            Green'®'




                                    Sill                    September                                        U.S. House             January 3,
                                              Republican                         Physician                                               2015
                                  Cassldy                   28, 1957                                      Louisiana Senate




                                                                              Magazine editor
                                                                                  lawyer                 Louisiana Treasurer
                                                                                                                                    January 3,          Madisonviile
                                   John                     November
                                              Republican                         professor             Secretary. Louisiana                                  [2,]
                                  Kennedy                   21,1951
                                                                             Staff of Louisiana      Department of Revenue
                                                                                                                                         2017

                                                                          Govemor Buddy Roemer




                                                                                                      Deputy Treasurer, MA
                                                                               House staffer
                                                                               Senate staffer       Professional and Financial
                                                            December                                                                January 3,
                                              Republican                   Regional director, SBA   Regulation Commissioner.             1997
                                                                                                                                                 2020    Bangor'®'
                                                             7,1952
                                                                           Nonprofit organization
                                                                                                    ME
                                                                                 executive




                                                                                  Lawyer
                                                                              Senate staffer
                                                      . .   March 31,        Business founder                                       January 3,
                                Angus King    independent                                                Govemor of Maine
                                                                            Corporate executive                                          2013
                                                                           Public television news
                                                                               program host




                                                                                                             U.S. House              I
                                                            October 5,
                                                                                                     Speaker of the Maryland             2007           Baltimore'®'
                                                                                                         House of Delegates



Maryland


                                                                         U.S. Senate staff member
                                                                                                            U.S. House
                    a if "Is           vai                   January        Maryland Governor's                                     January 3.          Kensington
                                                                                                         Maryland General                                    P31
                                   Hollen                   10,1959          legislative advisor                                         2017
                                                                                                             Assembly
                                                                                  lawyer
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 2 of 27 PageID# 148
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 3 of 27 PageID# 149
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 4 of 27 PageID# 150
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 5 of 27 PageID# 151
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 6 of 27 PageID# 152
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 7 of 27 PageID# 153
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 8 of 27 PageID# 154
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 9 of 27 PageID# 155
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 10 of 27 PageID# 156
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 11 of 27 PageID# 157
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 12 of 27 PageID# 158
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 13 of 27 PageID# 159
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 14 of 27 PageID# 160
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 15 of 27 PageID# 161
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 16 of 27 PageID# 162
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 17 of 27 PageID# 163
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 18 of 27 PageID# 164
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 19 of 27 PageID# 165
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 20 of 27 PageID# 166
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 21 of 27 PageID# 167
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 22 of 27 PageID# 168
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 23 of 27 PageID# 169
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 24 of 27 PageID# 170
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 25 of 27 PageID# 171
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 26 of 27 PageID# 172
Case 1:20-cv-00065-LO-JFA Document 5-1 Filed 01/23/20 Page 27 of 27 PageID# 173
